                   EXHIBIT 9




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

 CYNTHIA B. SCOTT, et al.,             )
                                       )
                       Plaintiffs,     )
                                       )      Case No. 3:12-cv-00036-NKM
        v.                             )      Sr. Judge Norman K. Moon
                                       )
 HAROLD W. CLARKE, et al.,             )
                                       )
                       Defendants.     )
                                       )


                   DECLARATION OF PROF. A. BENJAMIN SPENCER

        I, A. Benjamin Spencer, declare under penalty of perjury that the following is true and
 based on my personal knowledge:

       1.        I am a professor at the University of Virginia School of Law in Charlottesville,
 Virginia. My areas of expertise include civil procedure, complex litigation, class actions, federal
 courts, and jurisdiction.

       2.       I received my B.A. from Morehouse College in 1996, my M.Sc. in Criminal
 Justice Policy from the London School of Economics in 1997, and my J.D. from Harvard Law
 School in 2001.

       3.       I am an attorney at law in good standing and licensed by the Commonwealth of
 Virginia and have been since 2001. I am also admitted to practice in the following courts: the
 courts of the District of Columbia and the United States Courts of Appeals for the D.C., Third
 and Fourth Circuits.

       4.      I previously served as a professor at Washington and Lee University School of
 Law and as an associate professor at the University of Richmond School of Law. I am a member
 of the American Law Institute and a member of the West Academic Law School Advisory
 Board.

       5.       I serve on the Virginia State Bar Council and have served as a Special Assistant
 U.S. Attorney for the Western District of Virginia, occasionally handling appellate cases in the
 Fourth Circuit on behalf of the government on a pro bono basis. I also practiced as a litigation
 associate with the law firm of Shearman & Sterling.

      6.        I have reviewed the records that Plaintiffs’ counsel will submit to the court in
 support of their fee petition, including their hours and declarations. I have also reviewed the
 Memorandum Opinion for Summary Judgment (ECF Dkt. No. 201) and the Memorandum

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 Opinion for Class Certification (ECF Dkt. No. 188) in this case.

       7.        In determining a “reasonable” attorney’s fee under section 1988, the Fourth
 Circuit has long held that a district court’s discretion must be guided strictly by the factors
 enumerated by the Fifth Circuit in Johnson v. Georgia Highway Express, 488 F.2d 714 (5th Cir.
 1974). See Daly v. Hill, 790 F.2d 1071, 1077 (4th Cir. 1986). Although these factors are
 numerous and include considerations such as the time and skill required to litigate the case, the
 undesirability of the case, and the opportunity costs in forgoing other work, “the most critical
 factor is the degree of success of obtained.” Hensley v. Eckerhart, 461 U.S. 424, 436 (1983).1
 Here, the Plaintiffs have obtained through the proposed settlement a wholesale revision of the
 medical procedures at the Fluvanna County Correctional Center, with a new set of operating
 procedures, accommodation of disabilities, and systematic monitoring of compliance with this
 new regime. Memorandum of Law in Support of Plaintiffs’ Consent Motion for Approval of
 Settlement Agreement at 3-6. Framing and negotiating such a complex agreement itself required
 a significant investment of time and expertise by Plaintiffs’ counsel and it demonstrates how
 much they succeeded in accomplishing on behalf of their clients (factor 8).

        8.       This was a particularly undesirable case given the limitations imposed by the
 clients’ circumstances (factors 7 and 10). Few private attorneys would be willing and able to take
 cases like this one due to the difficulty of communicating with large numbers of incarcerated
 clients, the time-consuming and expensive nature of such litigation, and the fact that the prospect
 of compensation comes only from an award of attorney’s fees, which depends entirely on
 success on the merits and comes only after the litigation has been concluded, often years after it
 is filed (factor 6). Further, the need for detailed knowledge of the clients’ medical conditions
 and needs further complicated the factual investigation in this case. Because the central
 allegations of the complaint concerned “deliberate indifference to serious medical needs of
 prisoners,” Estelle v. Gamble, 429 U.S. 97, 104 (1975), this case has taken on the nature of a
 medical malpractice case superimposed on a civil rights case. The standard from Estelle, of
 course, demands far more by way of proof than simple negligence and that feature of the case
 also increased the burden on Plaintiffs’ counsel to assemble evidence to prevail on the merits or
 obtain a favorable settlement (factors 2 and 3).

       9.       The hours Plaintiffs’ counsel expended on this case were reasonably and
 necessarily incurred due to the following considerations: 1) the difficulty of cultivating potential
 plaintiffs who were willing and qualified to act as class representatives, 2) exhausting
 administrative procedures as required under the Prison Litigation Reform Act on a sufficiently
 broad range of complaints to support an action challenging the provision of medical care on a
 class-wide basis, 3) the substantial nature of the motions practice in the case, 4) the breadth and
 duration of discovery and time spent reviewing tens of thousands of pages of discovery including
 medical records, 6) the time spent advising and consulting with the class representatives, 7) the

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   The twelve Johnson factors are: (1) the time and labor required to litigate the suit; (2) the novelty and difficulty of
 the questions presented by the lawsuit; (3) the skill required properly to perform the legal service; (4) the preclusion
 of other employment opportunities for the attorney due to the attorney’s acceptance of the case; (5) the customary
 fee for such services; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client or the
 circumstances; (8) the amount in controversy involved and the results obtained; (9) the experience, reputation, and
 ability of the attorney; (10) the “undesirability” of the case; (11) the nature and length of the attorney’s professional
 relationship with the client; and (12) awards in similar cases.

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